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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

     AUSTIN ROY CLARK,                                                                   Plaintiff,

     v.                                                  Civil Action No. 3:21-cv-480-DJH-LLK

     UNIVERSITY OF LOUISVILLE et al.,                                                 Defendants.

                                            * * * * *

                                MEMORANDUM AND ORDER

          Plaintiff Austin Roy Clark sued fourteen University of Louisville employees in their

 individual and official capacities, alleging that he was denied his constitutional rights to free

 speech, procedural due process, and equal protection during the events that led to his dismissal

 from the university’s medical school. (Docket No. 1) Clark filed an amended complaint adding

 the University of Louisville (U of L) as a defendant and adding a substantive due process claim.

 (D.N. 4) Five of the defendants—then-University President Neeli Bendapudi, Provost Lori

 Gonzalez, Dean of the School of Medicine Toni Ganzel, Associate Dean Olivia Mittel, and Vice

 Dean Monica Shaw—moved to dismiss, arguing that the official-capacity claims are barred by the

 Eleventh Amendment and that Clark fails to state a plausible claim for relief against them in their

 individual capacities. (D.N. 9) Upon being served, four of the remaining defendants—Associate

 Dean Bill Crump, Dr. Thomas Neely, Dr. Mohan Rao, and Dr. Jennifer Koch—filed a second

 motion to dismiss on similar grounds.1 (D.N. 26) Clark’s attempts to cast himself as having been




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   The final five defendants—U of L, Dr. Sara Petruska, Associate Professor Julianna Brown, Dr.
 Cristina Giles, Dr. Jon Alexander, and Dr. Samuel Reynolds—have yet to appear. (See D.N. 33
 (directing Clark to show cause why claims against Petruska, Brown, Giles, Alexander, and
 Reynolds should not be dismissed pursuant to Federal Rule of Civil Procedure 4(m))) The Court
 will direct Clark to show cause why the claims against U of L should not be dismissed pursuant to
 Rule 4(m) in this Order as well.
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 subjected to unconstitutional disciplinary procedures because of his personal beliefs are not

 supported by his own factual allegations. For the reasons explained below, the Court will grant

 both motions to dismiss.

                                                   I.

        The following facts are set forth in the amended complaint and accepted as true for

 purposes of the present motion. See Siefert v. Hamilton Cnty., 951 F.3d 753, 757 (6th Cir. 2020).

 Between July 2017 and July 2020, Austin Roy Clark was enrolled as a medical student at the

 University of Louisville School of Medicine (ULSOM), attending both the Madisonville Trover

 Campus and the Jackson Street Louisville Campus. (D.N. 4, PageID.41 ¶ 14; id., PageID.48, ¶ 39;

 id., PageID.56–57 ¶ 72) During his second year at ULSOM, Clark was president of the student

 organizations “Medical Students For Life” and “Christian Medical and Dental Association.” (Id.,

 PageID.48 ¶ 42)     Clark invited a “Christian speaker” to ULSOM to make an “academic

 presentation as to when life actually began.” (Id.)      Clark alleges that this event “generated

 substantial opposition” (id., PageID.49 ¶ 43), because “the speaker put forward ideas that are not

 held by the majority of students or faculty at ULSOM leading to oppositional and retaliatory

 conduct from the administration.” (Id. at ¶ 44)

         During Clark’s third year of medical school, he was enrolled in a class on Obstetrics and

 Gynecology taught by Dr. Neely. (Id. at ¶¶ 45–46) On August 10, 2019, Clark engaged in

 “respectful verbal opposition activity regarding his treatment from Defendant Neely.” (Id. at ¶ 46)

 Clark told Neely that Neely was “not going to treat [him] that way” and that Neely was “the worst

 preceptor [he had] ever had.” (Id.) Neely responded by calling Clark stupid and asking if his brain

 was working. (Id.) Clark alleges that later that day, Neely spoke with Rao, a surgical instructor,

 and Crump, the Assistant Dean, about Clark’s behavior. (Id., PageID.50 ¶ 47) Crump told Clark



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 that Clark could not speak in that manner “to a senior faculty member.” (Id.) Four days later, Rao

 sent a letter to Crump stating that the Madisonville Surgical OBGYN faculty “w[ould] not accept

 him (Clark) as a student here (Madisonville Trover Campus).” (Id. at ¶ 49) Crump then instructed

 Clark that it was “not ‘in his best interest for him to return to the Trover Campus.’” (Id. at ¶ 50)

         On September 15, 2019, Clark met with Associate Dean Mittel, who required Clark to sign

 a “professionalism contract” because of his previous interaction with Neely.2        (Id., PageID.51

 ¶ 51) Clark alleges that no other students have ever been required to sign a professionalism

 contract. (Id. at ¶ 52) On October 5, 2019, Clark met with Dr. Petruska and Mittel to discuss “the

 retaliatory conduct from Thomas Neely and Mohan Rao.” (Id. at ¶ 53) When Clark attempted to

 defend himself, Petruska and Mittel allegedly told Clark that he “only sees himself as a victim.”

 (Id.)

         On February 7, 2020, Clark engaged in “respectful verbal oppositional activity” with Jon

 Alexander, a resident physician in the Internal Medicine Program. (Id., PageID.51–52 ¶ 54) Clark

 told Alexander that his “criticism and overbearing behavior” were unwarranted. (Id.) Dr.

 Alexander responded that he was a “third year resident and [Clark was] a student.” (Id.) Alexander

 gave Clark a failing grade for the Internal Medicine Clinic. (Id.) Clark alleges that Alexander had

 signed a memorandum several days earlier saying that Clark had “exceeded expectations” in the

 clinic. (Id.) One of Alexander’s colleagues, Dr. Reynolds, emailed Dr. Brown, the Internal

 Medicine Clerkship Director, to recommend that Clark be removed from the course and given a




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  The “professionalism contract” was filed under seal by the defendants pursuant to the Family
 Educational Rights and Privacy Act. (D.N. 12-2) The Court notes here that the defendants
 describe the document as outlining “the standards required to graduate from the University of
 Louisville School of Medicine,” a typical student performance agreement. (Id.) The nature of the
 contract is not determinative of any issues here. The parties do not dispute its content or purpose,
 and the Court need not interpret its terms.
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 failing grade based on Alexander’s interaction with Clark. (Id.) Clark alleges that the next day,

 Reynolds “physically harassed and bullied” him “as a result of the respectful First (1st) Amendment

 oppositional activity with Jon Alexander.” (Id. at ¶ 56)

        On February 17, 2020, Dr. Giles, another resident physician in the Internal Medicine

 Program, gave Clark a failing performance evaluation “solely as a result of the aforementioned

 protected activities.” (Id., PageID.53 ¶ 57) Giles had previously signed a memorandum stating

 that Clark “exceeded performance expectations.” (Id.) As a result of the failing evaluations from

 Alexander and Giles, Clark failed the Internal Medicine Clerkship. (Id. at ¶ 58) Failure of a course

 “triggered a meeting with the Student Promotions Committee of the Office of Medical Student

 Affairs” (SPC). (Id. at ¶ 59)

        Clark’s initial meeting with the SPC was canceled “due to COVID,” and he began his

 surgical rotation. (Id., PageID.54 ¶¶ 60–61) On the first day of the surgical rotation, Dean Ganzel

 called Clark’s preceptor, which Clark claims is a “practice that is not typical.” (Id. at ¶ 61) Clark

 later received a failing evaluation from his supervising surgery resident, who is subordinate to the

 preceptor who received a call from Ganzel. (Id. at ¶ 62) The resident’s evaluation mentioned

 Clark’s belief in the “biases of his Internal Medicine evaluations.” (Id.) Clark alleges that he

 never mentioned his Internal Medicine rotation to the evaluator. (Id. at ¶ 63)

        Clark’s meeting with the SPC was rescheduled for May 29, 2020. (Id. at ¶ 64) Clark

 alleges that while the initial meeting was supposed to only discuss his Internal Medicine rotation,

 the new meeting would consider his “entire academic record.” (Id.) Clark alleges that ULSOM

 changed its policy “with regards to the dismissal and academic discipline of medical students”

 between March 10 and May 20, 2020. (Id., PageID.55 ¶ 65) To prepare for the meeting, Clark

 requested “emails and documents from the ULSOM,” but “ULSOM repeatedly denied most of his



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 requests.” (Id., PageID.56 ¶ 70) Clark sent other evidence for his defense to Associate Dean

 Mittel via email, and she said she would “consider it.” (Id., PageID.55 ¶ 67)

        On May 27, Clark filed a complaint with the Liaison Committee for Medical Education

 concerning the university’s alleged failure to “correct such demeaning treatment and due to

 substantial restrictions on Clark’s First (1st) Amendment right to free speech.” (Id., PageID.55

 ¶ 68) On May 28, Clark filed a complaint with the Department of Health and Human Services

 Office for Civil Rights on the same grounds. (Id. at ¶ 69)

        Clark met with the SPC on May 29, 2020. (Id., PageID.55 ¶ 70) During the meeting, Clark

 “(1) reiterated his concerns regarding restrictions on his constitutional right to free speech,

 viewpoint discrimination, and student abuse, (2) . . . complain[ed] about the lack of due process

 and lack of transparency, and (3) . . . attempt[ed] to defend himself.” (Id., PageID.56 ¶ 71) The

 SPC recommended Clark’s dismissal to Dean Ganzel (id.), and Ganzel upheld the

 recommendation. (Id., PageID.57 ¶ 72) Between July 2020 and August 2020, Clark attempted to

 “formally appeal his dismissal through the University academic grievance procedures.” (Id. at ¶

 73) Clark alleges that he was unable to file a grievance due to “repeated and continual University

 obstruction.” (Id.)

        Clark filed this action on July 23, 2021, under 42 U.S.C. § 1983, alleging that the fourteen

 named defendants violated his constitutional rights to free speech, procedural due process, and

 equal protection. (D.N. 1) Clark later amended his complaint, adding U of L as a defendant and

 adding a substantive due process claim. (D.N. 4) Upon being served, Bendapudi, Gonzalez,

 Ganzel, Mittel, and Shaw filed a motion to dismiss. (D.N. 9) Upon being served several weeks

 later, Koch, Crump, Rao, and Neely also moved to dismiss. (D.N. 26) For the reasons discussed

 below, the Court finds that the amended complaint contains only conclusory statements that Clark



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 was discriminated against because of his beliefs, without sufficient factual allegations to support

 those claims.

                                                    II.

         To avoid dismissal for failure to state a claim, “a complaint must contain sufficient factual

 matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim

 is plausible on its face “when the plaintiff pleads factual content that allows the court to draw the

 reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

 678. If “the well-pleaded facts do not permit the court to infer more than the mere possibility of

 misconduct,” the plaintiff has not shown that he is entitled to relief. Id. at 679. For purposes of a

 motion to dismiss, “a district court must (1) view the complaint in the light most favorable to the

 plaintiff and (2) take all well-pleaded factual allegations as true.” Tackett v. M&G Polymers, USA,

 LLC, 561 F.3d 478, 488 (6th Cir. 2009) (citing Gunasekera v. Irwin, 551 F.3d 461, 466 (6th Cir.

 2009)). “But the district court need not accept a ‘bare assertion of legal conclusions.’” Id. (quoting

 Columbia Natural Res., Inc. v. Tatum, 58 F.3d 1101, 1109 (6th Cir. 1995)). A complaint is not

 sufficient when it only “tenders naked assertions devoid of further factual enhancement.” Iqbal,

 556 U.S. at 678 (internal quotations omitted) (citing Twombly, 550 U.S. at 557).

 A.      FIRST MOTION TO DISMISS

         Bendapudi, Gonzalez, Ganzel, Mittel, and Shaw (first defendants) argue that all of Clark’s

 official-capacity claims against them are barred by sovereign immunity and all of the individual-

 capacity claims against them are barred by qualified immunity. As explained below, the Court

 concludes that the first defendants are entitled to qualified immunity because Clark fails to state a

 claim that his constitutional rights were violated. As a result, the Court need not address the



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 sovereign-immunity argument.

                1.      Consideration of Documents Outside the Complaint

        When a district court decides a Rule 12(b)(6) motion, it may “consider the Complaint and

 any exhibits attached thereto, public records, items appearing in the record of the case and exhibits

 attached to defendant’s motion to dismiss so long as they are referred to in the Complaint and are

 central to the claims contained therein.” Bassett v. Nat’l Collegiate Athletic Ass’n, 528 F.3d 426,

 430 (6th Cir. 2008) (citing Amini v. Oberlin Coll., 259 F.3d 493, 502 (6th Cir. 2001). Here, the

 first defendants filed three exhibits under seal alongside their motion to dismiss, all of which are

 referred to in the amended complaint:

        •   Exhibit One: A July 27, 2020 letter from Dean Ganzel to Clark affirming Clark’s

            expulsion. (D.N. 20-1) Clark alleges that Ganzel “issued a formal letter to Clark

            dismissing him from the ULSOM.” (D.N. 4, PageID.57) ¶ 72)

        •   Exhibit Two: A September 17, 2019 professionalism contract signed by Clark. (D.N.

            12-2) Clark alleges that Associate Dean Mittel “required him to sign a ‘professionalism

            contract.’” (D.N. 4, PageID.43 ¶ 28)

        •   Exhibit Three: A May 29, 2020 memo from Simms (Director who oversaw the Student

            Promotions Committee Meeting) to Ganzel, recommending Clark’s dismissal. (D.N.

            12-3)    Clark alleges that the Student Promotions Committee “recommended, to

            Defendant Ganzel, Clark’s dismissal.” (D.N. 4, PageID.56 ¶ 71)

 The exhibits therefore satisfy the first Bassett prong. See 528 F.3d at 430. They satisfy the second

 prong as well: because Clark alleges that the defendants violated his constitutional rights during

 the school disciplinary process, documents that detail the process Clark received are “central to

 the claims contained” in his amended complaint. Id.; see, e.g., Brent v. Wayne Cnty. Dep’t. of


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 Hum. Servs., 901 F.3d 656, 699 (6th Cir. 2018) (finding that a police department’s policy was

 “central to the claims contained” within a complaint that alleged the department failed to follow

 its policy); Stein v. HHGREGG, Inc., 873 F.3d 523, 528 (6th Cir. 2017) (finding that a company’s

 compensation policy was “central to the claim[]” that the company’s policy violated the Fair Labor

 Standards Act).

        The Court must also determine whether it may consider the affidavit that Clark attached to

 his response. (D.N. 18-1, PageID.167–76) In general, “affidavits attached to briefs may not

 properly be considered at the motion to dismiss stage.” Hill v. Funk, No. 4:18-CV-P170-JHM,

 2019 U.S. Dist. LEXIS 75643, at *3 (W.D. Ky. May 3, 2019) (citation omitted). Neither the

 complaint nor the amended complaint refers to Clark’s affidavit, and the affidavit is not a public

 record. Bassett, 528 F.3d at 430; see also Rudd v. City of Norton Shores, No. 1:18-CV-124, 2018

 U.S. Dist. LEXIS 133746, at *11 (W.D. Mich. Aug. 8, 2018) (refusing to consider an affidavit

 filed in support of a Rule 12(b)(6) motion despite movant’s argument that “a court may consider

 an affidavit that merely ‘clarifies’ facts alleged in a complaint” because doing so “would obliterate

 the distinction between a Rule 12(b)(6) motion to dismiss and a Rule 56 motion for summary

 judgment.”). The Court thus will not consider Clark’s affidavit.

                2.      Qualified Immunity

        Bendapudi, Gonzalez, Ganzel, Mittel, and Shaw argue that Clark’s individual-capacity

 claims against them are barred by qualified immunity. (D.N. 9, PageID.93) When a public official

 is sued in her individual capacity, qualified immunity shields her from suit unless her conduct

 violated a clearly established constitutional right of which a reasonable official would have known.

 Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). If a defendant raises qualified immunity as a

 defense, the plaintiff bears the burden of demonstrating that the defendant is not entitled to such



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 immunity. Crawford v. Tilley, 15 F.4th 752, 760 (6th Cir. 2021); Everson v. Leis, 556 F.3d 484,

 494 (6th Cir. 2009). Still, the Sixth Circuit has cautioned against “‘resolv[ing] a Rule 12(b)(6)

 motion on qualified immunity grounds’ because development of the factual record is frequently

 necessary to decide whether the official’s actions violated clearly established law.” Hart v.

 Hillsdale Cnty., 973 F.3d 627, 635 (6th Cir. 2020) (quoting Singleton v. Kentucky, 843 F.3d 238,

 242 (6th Cir. 2016)). The Court may decide a subset of cases at the motion-to-dismiss stage if the

 plaintiff has not plausibly shown a violation of his clearly established rights. Siefert, 951 F.3d at

 762.

         To determine if an official is entitled to qualified immunity, the Court first views the facts

 alleged in the light most favorable to the plaintiff to see whether those facts show that the official’s

 conduct violated a constitutional right. Saucier v. Katz, 533 U.S. 194, 201 (2001). If no

 constitutional right would have been violated on the facts alleged, the inquiry ends, and the official

 is entitled to qualified immunity. Id. If a violation can be made out based on a favorable view of

 the pleadings, the Court must then determine whether the right at stake was clearly established.

 Id. As explained below, the Court finds that Clark has not plausibly alleged that the first

 defendants violated his constitutional rights.

         a.      Retaliation

         Clark alleges that the first defendants violated his First and Fourteenth Amendment rights

 by retaliating against him because he engaged in protected speech. (D.N. 4, PageID.59–61 ¶¶ 86–

 92) The Sixth Circuit recognizes that the Free Speech Clause prohibits public universities from

 suppressing speech “because of its message.” Ward v. Polite, 667 F.3d 727, 732–33 (6th Cir.

 2012) (citing Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 828 (1995). To

 establish a First Amendment retaliation claim, Clark must show that “(1) he engaged in protected



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  conduct; (2) the defendants took an adverse action against him; and (3) a causal connection exists

  between the two.” Rudd v. City of Norton Shores, Mi., 977 F.3d 503, 513 (6th Cir. 2020) (citing

  Novak v. City of Parma, 932 F.3d 421, 427 (6th Cir. 2019)).

         Clark first claims that he was retaliated against for his “political and religious beliefs as

  exhibited by his activities in . . . Medical Students for Life and the Christian Medical and Dental

  Association.” (D.N. 4, PageID.58 ¶ 77) The amended complaint describes the event that Clark’s

  organizations planned, as well as the negative reaction “from many faculty and students” and

  certain restrictions imposed by ULSOM. (Id., PageID.48–49 ¶¶ 42–44) Clark further alleges that

  “Defendants” violated his First Amendment rights “by (1) submitting him to heightened scrutiny

  under ‘professionalism’ standards, (2) arbitrarily and capriciously awarding failing grades, and

  (3) . . . remov[ing him] from the ULSOM” as punishment for “expressing his pro-life and religious

  views through the speech made by Alex McFarland on campus.” (Id., PageID.60 ¶ 87)

         These allegations are insufficient to state a retaliation claim for two reasons. First, Clark

  fails to identify which defendants retaliated against him. See Boxill v. O’Grady, 935 F.3d 510,

  518 (6th Cir. 2019) (“Summary reference to a single, five-headed “Defendants” does not support

  a reasonable inference that each Defendant is liable for retaliation.” (citing Heyne v. Metro

  Nashville Pub. Sch., 755 F.3d 556, 564 (6th Cir. 2011))). Second, Clark fails to allege facts

  showing that the defendants took retaliatory action because of his views. See id. (finding that

  dismissal was proper because the plaintiff “offer[ed] no facts to support a reasonable inference

  that any of the[] Defendants” took adverse action against her “in response to [plaintiff’s] protected

  speech”). Absent any factual allegations suggesting that the defendants were motivated by Clark’s

  religious or political expression, the amended complaint fails to state a claim for retaliation. See

  Koch v. Dep’t of Natural Res., Div. of Wildlife, 858 F. App’x 832, 837 (6th Cir. 2021) (finding



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  that a claim for retaliation requires the allegation that the adverse action was motivated by the

  protected conduct (citing Mezibov v. Allen, 411 F.3d 712, 717 (6th Cir. 2005))).

         Clark also claims that the first defendants retaliated against him because he filed complaints

  against ULSOM with the Liaison Committee for Medical Education (LCME) (D.N. 4, PageID.55

  ¶ 68), and with the Health and Human Services Office for Civil Rights (HHS OCR) (id., PageID.55

  ¶ 69). (Id., PageID.58) This allegation fails to state a claim for two reasons. First, Clark did not

  plead any “plausible, non-conclusory facts to show that [the defendants] w[ere] even aware of h[is]

  complaints.” Boxill, 935 F.3d at 518. Second, even if the defendants were aware of the complaints,

  Clark does not allege any facts that suggest they disciplined him because he filed the complaints.

  Rudd, 977 F.3d at 515; see also Salyers v. Anthem Blue Cross Blue Shield, No. 3:20-cv-124-BJB-

  LLK, 2021 U.S. Dist. LEXIS 131981, at *5–6 (W.D. Ky. July 15, 2021) (granting a motion to

  dismiss a retaliation claim because the plaintiff “points to no factual allegations that directly or

  circumstantially support her assertion that [the defendant] terminated her because she engaged in

  a protected activity. Indeed, she never identifies . . . whether the person who decided to [dismiss]

  her knew about any protected activity”) (citing Harris v. Burger King Corp., 993 F. Supp. 2d 677,

  689 (W.D. Ky. 2014)). Clark offers only the conclusory assertion that he was disciplined “as a

  result” of his complaints. (D.N. 4, PageID.40 ¶ 8; id., PageID.53 ¶ 57; id. at ¶ 58; id., PageID.56

  ¶ 71) Those allegations are insufficient to survive a motion to dismiss. See Agema v. City of

  Allegan, 826 F.3d 326, 333 (6th Cir. 2016) (affirming a motion to dismiss when the complaint did

  not allege “sufficient accompanying facts” to plausibly state a claim).

         Clark finally alleges that the first defendants retaliated against him for engaging in “verbal

  and written attempts to obtain a modicum of respect as a medical student.” (D.N. 4, PageID.58

  ¶ 77) Specifically, Clark engaged in several conversations with ULSOM employees in which



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  Clark disagreed with their methods of teaching and treatment of him.3 The issue is whether Clark’s

  “respectful verbal oppositional activity regarding his treatment” (D.N. 4, PageID.49 ¶ 46),

  qualifies as constitutionally protected speech such that the defendants could not discipline him for

  it without running afoul of the First Amendment. See Ryan v. Blackwell, 979 F.3d 519, 527 (6th

  Cir. 2020) (affirming a motion to dismiss because plaintiff’s “speech was not on a matter of public

  concern and therefore not protected”).

         The Sixth Circuit has held that a student’s First Amendment retaliation claim “fails at the

  inception where his alleged speech, i.e., his conduct of disrupting the classroom milieu for the sole

  purpose of advancing or pursuing his admitted ‘power struggle’ with the University, was not

  protected activity.” Salehpour v. Univ. of Tenn., 159 F.3d 199, 208 (6th Cir. 1998) (citing Tinker

  v. Des Moines Cmty. Sch. Dist., 393 U.S. 503 (1969)). Further, “conduct by the student, in class

  or out of it, which for any reason – whether it stems from time, place, or type of behavior –

  materially disrupts classwork or involves substantial disorder . . . is, of course, not immunized by

  the constitutional guarantee of freedom of speech.” Tinker, 393 U.S. at 513.

         Even taking all allegations in the amended complaint as true, the Court does not find any

  facts to support Clark’s allegation that his statements to ULSOM faculty qualify as protected

  speech. Clark allegedly told Dr. Neely that he was “the worst preceptor [Clark had] ever had”

  (D.N. 4, PageID.49 ¶ 46), and told Dr. Alexander that he was “unjust” and “unfair.” (Id.,

  PageID.51–52 ¶ 54) Criticism of educational faculty, “where the expression appears to have no



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    The amended complaint details two situations where Clark engaged in “respectful verbal
  oppositional activity” with the defendants. (D.N. 4, PageID.49 ¶ 46) First, Clark told Dr. Neely
  (his OGBYN professor) that “you are not going to treat me that way” and “you are the worst
  preceptor I have ever had.” (Id.) Clark told Dr. Alexander, a resident physician in the Internal
  Medicine Program, that Alexander was “unjust” and “unfair” and that his “criticism and
  overbearing behavior toward Clark regarding his performance on wards[] was unwarranted.” (Id.,
  PageID.51–52 ¶ 54)
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  intellectual content or even discernable purpose, and amounts to nothing more than expression of

  personal proclivity designed to disrupt the educational process, . . . is not protected.” Salehpour,

  159 F.3d at 208; see also Lowery v. Euverard, 497 F.3d 584, 588 (6th Cir. 2007) (finding that a

  school may discipline a student to ensure “appropriate discipline in the operation of the school”

  without violating that student’s First Amendment rights.) Absent an allegation that the plaintiff

  engaged in protected speech, a plaintiff has not stated a claim for First Amendment retaliation. Id.

  (“Plaintiff's claim fails to present a constitutional violation because Plaintiff's conduct did not

  constitute protected speech).

         b.      Content and Viewpoint Discrimination

         Clark alleges that the first defendants violated his constitutional rights by discriminating

  against the content and viewpoint of his speech with respect to (1) “the speaker invited by Clark

  regarding political and religious perspectives on the pro-life topic,” and (2) “the verbal expressions

  of Clark regarding the proper treatment of medical students during their clinical practicum

  experience.” (D.N. 4, PageID.62 ¶ 95) The amended complaint alleges that the defendants singled

  Clark out for disfavored treatment because they did not like his views. (Id. at ¶ 95) See Christian

  Legal Soc’y Chapter of the Univ. of Cal. v. Martinez, 561 U.S. 661, 694 (2010) (finding that

  viewpoint discrimination occurs when the state singles out an individual for disfavored treatment

  because of their point of view).

         Clark first alleges that the defendants discriminated against him because of the viewpoint

  of the speaker that he brought to campus (D.N. 4, PageID.62 ¶ 95). But the amended complaint

  contains no factual allegations to suggest that the defendants’ decision to dismiss Clark was

  motivated by his, or the speaker’s, political or religious views. See Ctr. For Bio-Ethical Reform,

  Inc. v. Napolitano, 648 F.3d 365, 378 (6th Cir. 2011) (affirming dismissal where “the Amended



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  Complaint fail[ed] to adequately plead that any adverse actions by Defendants were motivated by

  a desire to discriminate or retaliate against Plaintiffs on account of their constitutionally protected

  expressive activities”) (citing Iqbal, 556 U.S. at 680). Instead, Clark merely alleges that he

  expressed his views publicly and was later disciplined. (D.N. 4, PageID.62 ¶ 96; see generally

  D.N. 4) These allegations are insufficient to allege a First Amendment violation. See Napolitano,

  648 F.3d at 378.

         Clark next alleges that the defendants discriminated against him because of the content and

  viewpoint of his speech when he criticized ULSOM faculty. (D.N. 4, PageID.62 ¶ 95) The

  amended complaint alleges that Clark made several comments to his instructors “regarding the

  proper treatment of medical students,” and that the defendants “evaluated the content and

  viewpoint” of those statements when they decided to take “adverse academic actions against him.”

  (Id. at ¶¶ 95–96) The Sixth Circuit’s decision in Harris v. Morris is instructive here. No. 16-

  1373, 2017 U.S. App. LEXIS 21425, at *7 (6th Cir. Oct. 26, 2017). In Harris, the plaintiff was

  pursuing a master’s degree when he failed two of his courses. Id. at *2. Harris attempted to appeal

  his grades through several university grievance procedures, and when those efforts failed, he filed

  suit alleging that the school engaged in viewpoint discrimination among several other claims. Id.

  at *3. The Sixth Circuit affirmed the district court’s dismissal of the viewpoint discrimination

  claim because, although Harris “alleged that the grievance process violated his right to free speech

  and discriminated against him based on his viewpoint. . . . he never cited any speech or viewpoint

  that caused the defendants to discriminate against him.” Id. The Court ultimately found that

  “Harris failed to allege that he engaged in any constitutionally protected conduct” at all. Id. at *7

  (citing Fritz v. Charter Twp. of Comstock, 592 F.3d 718, 723 (6th Cir. 2010)). Similar to Harris,

  Clark alleges that the defendants engaged in viewpoint discrimination because they dismissed him



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  after he objected to their academic procedures. (D.N. 4, PageID.61 ¶ 94) The Court finds that

  Clark’s allegations are insufficient to state a claim for viewpoint discrimination for the same

  reasons as the Sixth Circuit articulated in Harris: Clark has not alleged that he engaged in

  constitutionally protected conduct, nor has he identified the viewpoint on which the defendants

  based their discrimination. (D.N. 4); Harris, 2017 U.S. App. LEXIS 21425, at *7.

         c.       Procedural Due Process

         To properly allege a procedural due process violation, a plaintiff must plead that (1) he had

  a property or liberty interest of which he was deprived; and (2) the state did not afford him adequate

  procedural rights prior to depriving him of the interest. Cottrell v. Greenwell, 3:17-cv-00041-

  RGJ-CHL, 2019 U.S. Dist. LEXIS 43749, at *11 (W.D. Ky. 2019). The first defendants argue

  that Clark did not allege a protected property interest (D.N. 9, PageID.98), and that even if he did,

  he failed to state a claim under § 1983 (D.N. 9, PageID.101–04) Defendants’ first argument is

  meritless, as Clark alleges that the Supreme Court has recognized a “sufficient property or liberty

  interest involved in the continuation of a medical school education to apply the 14th Amendment”

  (D.N. 18, PageID.164), and the Sixth Circuit has consistently held that public-university students

  are entitled to due process before “significant disciplinary decisions.” See, e.g., Doe v. Univ. of

  Cincinnati, 872 F.3d 393, 399 (6th Cir. 2017) (citing Flaim v. Med. Coll. of Ohio, 418 F.3d 629,

  633 (6th Cir. 2005)); Doe v. Cummins, 662 F. App’x 437, 445 (6th Cir. 2016). The Court therefore

  turns to the first defendants’ argument that Clark failed to state a procedural due process claim.

         To determine what kind of process an individual is due, a court weighs the factors set forth

  in Matthews. Kaplan v. Univ. of Louisville, 10 F.4th 569, 578 (6th Cir. 2021) (citing Matthews v.

  Eldridge, 424 U.S. 319 (1976)). It considers: (1) the nature of the private interest subject to official

  action; (2) the risk of erroneous deprivation under the current procedures used, and the value of



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  any additional procedural safeguards; and (3) the governmental interest, including the burden any

  additional or substitute procedures might entail. Id. In university disciplinary proceedings, these

  factors entitle an accused student to “at least receive the following pre-expulsion: (1) notice of the

  charges; (2) an opportunity to be heard.” Flaim, 418 F.3d at 634. The degree of notice, and the

  type of hearing, will vary depending on context. Id. Here, Clark acknowledges that “he was given

  some manner of notice and opportunity to be heard,” but he nevertheless alleges that the defendants

  violated his procedural due process rights in six ways. (D.N. 4, PageID.63 ¶ 101)

         Clark first alleges that he was denied due process because the defendants “failed to adhere

  to University policy and the faculty Code of Conduct.” (Id., PageID.64 ¶ 102) Whether the

  university “followed its own procedures, however, is not the proper inquiry. ‘Violation of a state’s

  formal procedure…does not in and of itself implicate constitutional due process concerns.’” Ji

  Qiang Xu v. Mich. State Univ., 195 F. App’x 452, 457 (6th Cir. 2006) (quoting Purisch v. Tenn.

  Tech. Univ., 76 F.3d 1414, 1423 (6th Cir. 1996) (citation omitted)). Absent additional factual

  allegations, Clark has failed to state a claim for a procedural due process violation on this ground.

  See id. (“A state cannot be said to have a federal due process obligation to follow all of its

  procedures; such a system would result in the constitutionalizing of every state rule, and would

  not be administrable.”) (quoting Levine v. Torvik, 986 F.2d 1506, 1515 (6th Cir. 1993)).

         Clark claims that the defendants violated his right to due process by “failing to adequately

  consider alternative methods of discipline.” (D.N. 4, PageID.64 ¶ 102) Clark points to no

  authority, nor is the Court aware of any, that requires a university to consider alternative methods

  of discipline before dismissing a student in order to comport with due process. This allegation

  thus does not give rise to a plausible procedural due process claim. See League of United Latin

  American Citizens v. Bredesen, 500 F.3d 523, 527 (6th Cir. 2007) (finding that “a complaint must



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  contain…all the material elements to sustain recovery under some viable legal theory”).

         The amended complaint alleges the defendants “at best misrepresent[ed] and at worst

  falsif[ied] the official transcription of the [SRC] meeting and refus[ed] to issue corrections despite

  Clark’s repeated requests.” (D.N. 4, PageID.65 ¶ 102) It does not allege which defendant falsified

  the meeting transcript, however; nor does it allege when this falsification occurred or what

  information was falsified. (See generally D.N. 4) This kind of bare factual assertion fails to state

  a claim under Rule 12(b)(6). Iqbal, 556 U.S. at 678.

         The defendants allegedly failed to provide Clark with “access to documents necessary for

  his presentation and defense.” (D.N. 4, PageID.65 ¶ 102) The amended complaint does not

  identify which defendant denied Clark access to documents; rather, it alleges that “Clark formally

  requested emails and documents from the ULSOM which he believed necessary to ensure that his

  defense would be complete and professional. ULSOM repeatedly denied most of his requests.”

  (Id., PageID.56 ¶ 70) ULSOM is not a defendant in this case. Even assuming that any of the

  named defendants did deny Clark’s request for documents, such a denial would not violate a due

  process right, as the Sixth Circuit has recognized no right to formal discovery in university

  disciplinary proceedings. Doe v. Ohio State Univ., 219 F. Supp. 3d 645, 659 (S.D. Ohio 2016).

         Clark alleges that the defendants violated his “FERPA rights.” (D.N. 4, PageID.65 ¶ 102)

  FERPA refers to the Family Educational Rights and Privacy Act, 20 U.S.C. § 1232 (2022), which

  “creates a binding obligation on schools that accept federal funds not to release educational records

  without consent.” United States v. Miami Univ., 294 F.3d 797, 824 n.11 (6th Cir 2002). Clark

  does not allege who violated his FERPA rights, in what way they were violated, or what

  educational records were disclosed in violation of the statute. (D.N. 4) This claim fails under Rule

  12(b)(6). Iqbal, 556 U.S. at 678.



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         Clark’s final procedural due process allegation is that the defendants obstructed his

  “attempt at a formal University grievance to overturn his academic dismissal.” (D.N. 4, PageID.65

  ¶ 102). Clark does not identify the individual or individuals who prevented his attempt. (Id.)

  Rather, he alleges that he was unable to pursue the grievance process “[d]ue to repeated and

  continual University obstruction including continued refusal to release records by both faculty and

  the Office of University Counsel, [and] repeated dishonesty on behalf of personnel, both inside

  and outside the academic unit of the School of Medicine.” (D.N. 4, PageID.57 ¶ 73) To state a

  claim for a constitutional violation under § 1983, the plaintiff must identify the government official

  responsible for the violation. See Iqbal, 556 U.S. at 676 (finding that, to plead a § 1983 claim, “a

  plaintiff must plead that each Government-official defendant, through the official’s own individual

  actions, has violated the Constitution”). Clark has not done so, and even if he had named a specific

  defendant who prevented his appeal, the amended complaint would not sufficiently allege a

  procedural due process violation because there is no constitutional right to appeal a disciplinary

  proceeding in a public university. Heyne v. Metro. Nashville Pub. Sch, 655 F.3d 556, 569 (6th

  Cir. 2011) (citing Flaim, 418 F.3d at 642).

         d.      Substantive Due Process

         Clark added a substantive due process claim in his amended complaint.                (D.N. 4,

  PageID.64–66 ¶¶ 104–10) He alleges that the defendants dismissed him in an “arbitrary and

  capricious manner that substantially departed from academic norms.” (D.N. 4, PageID.64 ¶ 105)

  Defendants argue that this claim is barred by the statute of limitations. (D.N. 9, PageID.88) The

  Court need not address the statute-of-limitations issue because, as explained below, even if the

  additional claim were permitted under Rule 15, Clark fails to state a claim for relief.

         There are two forms of substantive due process violations: “(1) deprivations of a particular



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  constitutional guarantee, and (2) actions that shock the conscience.” Doe v. Miami Univ., 882 F.3d

  579, 597 (6th Cir. 2018) (citing Valot v. Southeast Local Sch. Dist. Bd. of Educ., 107 F.3d 1220,

  1228 (6th Cir. 1997)). Clark has not alleged a deprivation of a particular constitutional guarantee

  as the Sixth Circuit has not recognized “an independent property interest in pursuing a post-

  secondary education.” Id. at 598 (“The interests protected by substantive due process are of course

  much narrower than those protected by procedural due process.” (quoting Bell v. Ohio State Univ.,

  351 F.3d 240, 249–50 (6th Cir. 2003))). Similarly, Clark has not alleged any conduct that “shocks

  the conscience.” Id. at 597. State action meets this standard when it is “arbitrary, or conscience

  shocking, in a constitutional sense.” Handy–Clay v. City of Memphis, 695 F.3d 531, 547 (6th Cir.

  2012) (quoting City of Sacramento v. Lewis, 523 U.S. 833, 847 (1998)). This characterization only

  applies to the most egregious state conduct. See e.g., Flaim, 418 F.3d at 643 (describing an

  example of conscience-shocking conduct drawn from a case in which two African–American

  students were expelled from Alabama State College, without notice or a hearing, “for seeking to

  purchase lunch at a publicly owned grill in the basement of the Montgomery, Alabama, county

  courthouse”) (citing Dixon v. Ala. State Bd. of Educ., 294 F.2d 150 (5th Cir. 1961)). Clark has not

  alleged any conduct that meets that high bar. See Handy-Clay, 695 F.3d at 547 (dismissing an

  employee’s claim that her boss violated her substantive due process rights for firing her after her

  “repeated complaints about malfeasance and corruption” because her claims were ultimately

  rooted in the First Amendment and thus not actionable under substantive due process.).

         e.      Equal Protection

         Clark finally alleges that the defendants violated his right to equal protection by

  “punish[ing] Clark for expressing his views…when there are students who, when expressing

  contrary views…are not subject to the same or similar restrictions.” (D.N. 4, PageID.66–67 ¶ 112)



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  The first defendants argue that Clark fails to state a claim because his amended complaint contains

  only a “litany of events that Defendants allegedly inflicted on him for his views, claiming that no

  other students were subjected to similar treatment.” (D.N. 9, PageID.104) Clark did not reply to

  this argument. (D.N. 18) Instead, he asserted again the general claim that the defendants “violated

  his constitutional right[ to]…equal protection under the law.” (Id., PageID.165)

          To state an equal-protection claim, a plaintiff must allege that the state made a distinction

  that “burden[ed] a fundamental right, target[ed] a suspect class, or intentionally treat[ed] one

  differently from others similarly situated without any rational basis for the difference.” Miami

  Univ., 882 F.3d at 595 (quoting Radvansky v. City of Olmsted Falls, 395 F.3d 291, 312 (6th Cir.

  2005)). Here, Clark has not pleaded any facts to support his allegation that other students were

  treated differently than he was after making similar statements. (D.N. 4) Clark does not identify

  any other students who made similar comments but were not disciplined. (Id.) Indeed, he does

  not allege that any other students made similar comments at all. (Id.) Absent factual allegations

  that Clark was treated differently than other students, his equal-protection claim fails. Ctr. For

  Bio-Ethical Reform, Inc. v. Napolitano, 648 F.3d 365, 379 (6th Cir. 2011) (affirming the dismissal

  of a complaint where the plaintiff did not adequately plead “that the government treated plaintiff

  disparately as compared to similarly situated persons”); Meriwether v. Hartop, 992 F.3d 492, 518

  n.9 (6th Cir. 2021); see also Kollaritsch v. Mich. State Univ. Bd. of Trustees, 944 F.3d 613, 627

  (6th Cir. 2019) (finding defendant entitled to qualified immunity where “[t]he complaint d[id] not

  allege facts showing that [the defendant] violated [the plaintiff’s] clearly established constitutional

  right to equal protection”).

          In sum, Clark fails to allege “sufficient factual matter, accepted as true, to ‘state a claim

  for relief’” for violations of his constitutional rights to free speech, due process, or equal protection.



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  Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 570). Accordingly, the first defendants are

  entitled to qualified immunity for the individual-capacity claims. Kollaritsch, 994 F.3d at 627.

  Additionally, because Clark fails to state a claim that his constitutional rights were violated, the

  Court need not consider the defendants’ argument that they are entitled to sovereign immunity.

  (D.N. 9, PageID.91); See Pinkney v. Berrien Cnty., 2022 U.S. App. LEXIS 23224, at *6 (6th Cir.

  2022) (explaining a court “need not resolve the sovereign immunity issue” if it finds that the

  plaintiff “has not alleged a constitutional violation”).

  B.      SECOND MOTION TO DISMISS

          Upon being served, Koch, Crump, Rao, and Neely (second defendants) filed a motion to

  dismiss under Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim. (D.N. 26,

  PageID.211) They argue that (1) the statute of limitations bars all of Clark’s claims against them

  (id., PageID.216); (2) sovereign immunity bars Clark’s official-capacity claims against them (id.,

  PageID.219); and (3) Clark failed to state a claim with respect to any individual defendant. (id.,

  PageID.221) For the reasons explained below, the second motion to dismiss will also be granted.

          1.      Statute of Limitations

          Koch, Crump, Rao, and Neely argue that Clark’s claims against them are time-barred as

  the one-year statute of limitations had run by the time Clark filed his initial and amended

  complaints. (D.N. 26, PageID.216–20) The Court need not consider this argument because, even

  if the claims were not time-barred, Clark has failed to state a claim that the second defendants

  violated his constitutional rights. See II.A.2.

          2.      Sovereign Immunity

          The Court need not consider whether the defendants are entitled to sovereign immunity

  because Clark has failed to allege a violation of his constitutional rights. See Pinkney, 2022 U.S.



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  App. LEXIS 23224, at *6.

         3.      Qualified Immunity

         For the reasons discussed in Section II.A.2., the Court finds that Clark fails to plausibly

  allege that the second defendants, in their individual capacities, violated his constitutional rights.

  Accordingly, the second defendants are entitled to qualified immunity. Saucier v. Katz, 533 U.S.

  194, 201 (2001) (finding that if no constitutional right would have been violated on the facts

  alleged, the officer will be entitled to qualified immunity).

                                                   III.

         The Court finds that Clark has failed to state a claim that Bendapudi, Gonzalez, Ganzel,

  Mittel, Shaw, Koch, Crump, Rao, or Neely violated his constitutional rights in their individual

  capacities. The defendants are therefore entitled to qualified immunity. The Court need not

  consider whether the defendants are entitled to sovereign immunity for the official-capacity claims

  because Clark has failed to allege a constitutional violation. Accordingly, and the Court being

  otherwise sufficiently advised, it is hereby

         ORDERED as follows:

         (1)     The motion to dismiss filed by Defendants Bendapudi, Gonzalez, Ganzel, Mittel,

  and Shaw (D.N. 9) is GRANTED. Clark’s claims against Defendants Bendapudi, Gonzalez,

  Ganzel, Mittel, and Shaw are DISMISSED. The Clerk of Court is DIRECTED to terminate

  Bendapudi, Gonzalez, Ganzel, Mittel, and Shaw as defendants in the record of this matter.

         (2)     The motion to dismiss filed by Defendants Koch, Crump, Rao, and Neely (D.N. 26)

  is GRANTED.         Clark’s claims against Defendants Koch, Crump, Rao, and Neely are

  DISMISSED. The Clerk of Court is DIRECTED to terminate Koch, Crump, Rao, and Neely as

  defendants in the record of this matter.



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         (3)     Clark shall have fourteen (14) days from entry of this Order to SHOW CAUSE

  why this action against U of L should not be dismissed pursuant to Rule 4(m) of the Federal Rules

  of Civil Procedure.

         September 30, 2022




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